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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:09-cr-00029
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
SOLOMON HAKEEM JOHNSON,             )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on November 5, 2009, after receiving the written consent of defendant and all counsel. There

is no written plea agreement. At the hearing, defendant Solomon Hakeem Johnson entered a plea

of guilty to Count 5 of the Superseding Indictment charging defendant with distribution of cocaine

base in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C). On the basis of the record made at the

hearing, I find that defendant is fully capable and competent to enter an informed plea; that the plea

is made knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises; that the defendant understands the

nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to Count 5 of the Superseding

Indictment be accepted, and that the court adjudicate defendant guilty. Acceptance of the plea,

adjudication of guilt, and imposition of sentence are specifically reserved for the district judge.
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Date: November 6, 2009                                 /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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